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                                           April 22, 2022

 VIA ECF
 Hon. Jose R. Almonte
 United States Magistrate Judge
 Martin Luther King Building
 & U.S. Courthouse
 50 Walnut Street
 Newark, NJ 07102

           RE:      Zeo Health Ltd., et al. v. Zoi Global, LLC, et al., No. 2:21-cv-11410-ES-JRA:
                    Request to Extend Deadline to Raise Unresolved Discovery Disputes

 Dear Judge Almonte:

         We represent Plaintiffs Zeo Health Ltd., Micah Portney, Touchstone Essentials, Inc., and
 Norwood E. Stone (“Plaintiffs”) in the above-captioned matter. Plaintiffs respectfully write to
 request that the Court extend the deadline to raise unresolved discovery disputes with the Court
 from April 29, 2022, as set out in the Court’s Pretrial Schedule Order entered on December 28,
 2021, to May 27, 2022. See Dkt. No. 31 ¶ 7.

          The parties are in the process of gathering documents for production but have not
 exchanged any documents as of yet. Further, the parties have agreed on a proposed protective
 order that will be submitted to the Court next week. Additionally, a key Defendant in this case,
 Zoi Global, LLC, was just served on April 21, 2022. For these reasons, it is unlikely that the
 parties will be in a position to determine if there is a discovery dispute before the April 29th
 deadline and Plaintiff respectfully requests that the deadline be extended so that the Court can
 assist in resolving any disputes should they arise.

        Plaintiffs asked Defendants if they would stipulate to the request for an extension but
 they have not responded.

                                              Sincerely,

                                        /s/Dariush Keyhani
                                          Dariush Keyhani
                                           Keyhani LLC
                                         Attorneys for Plaintiff

 cc: Defendants’ counsel of record via ECF
